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 IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA,              )
                                       )    CRIMINAL ACTION NO.
        v.                             )       2:17cr131-MHT
                                       )            (WO)
HANNAH SILAS                           )

                             OPINION AND ORDER

        Previously, the magistrate judge entered an order

granting the government's motion for a mental-health

evaluation of defendant Hannah Silas by the Bureau of

Prisons.          See Memorandum Opinion and Order (doc. no.

256).        Silas now requests that the court extend the

deadline to file notice of an insanity defense until 14

days after the receipt of evaluation, in order that she

may decide on the basis of that evaluation whether to

assert       an   insanity    defense.     The   government    does     not

oppose this motion.

       The    Federal   Rules     of   Criminal    Procedure    require

that    defense      counsel     provide    notice   of   an   insanity

defense to the government “within the time provided for
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filing a pretrial motion, or at any later time that the

court sets.”        Fed. R. Crim. P. 12.2(a).           The time for

filing a pretrial motion has expired in this case.

                               ****

       Accordingly, in light of the evidence that may be

revealed     from    defendant     Hannah     Silas’s     forthcoming

mental-health evaluation as to her mental state at the

time    of   the    alleged    offense,      it   is    ORDERED     that

defendant    Silas's    motion     to   extend    the   deadline        for

notice of an insanity defense (doc. no. 259) is granted

and that the deadline is extended until 14 days after

the docket filing of the Bureau of Prisons' mental-

health evaluation of her.

       DONE, this the 30th day of October, 2017.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
